                 Case 3:17-cv-04002-LB
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                                       Office of the Clerk
                      United States Court of Appeals for the Ninth Circuit
                                     Post Office Box 193939
                              San Francisco, California 94119-3939
                                          415-355-8000
Molly C. Dwyer
Clerk of Court                              June 12, 2018


       No.:                   18-16082
       D.C. No.:              3:17-cv-04002-LB
       Short Title:           Open Source Security, Inc., et al v. Bruce Perens


       Dear Appellants/Counsel

       A copy of your notice of appeal/petition has been received in the Clerk's office of
       the United States Court of Appeals for the Ninth Circuit. The U.S. Court of
       Appeals docket number shown above has been assigned to this case. You must
       indicate this Court of Appeals docket number whenever you communicate with
       this court regarding this case.

       Please furnish this docket number immediately to the court reporter if you place an
       order, or have placed an order, for portions of the trial transcripts. The court
       reporter will need this docket number when communicating with this court.

       The due dates for filing the parties' briefs and otherwise perfecting the appeal
       have been set by the enclosed "Time Schedule Order," pursuant to applicable
       FRAP rules. These dates can be extended only by court order. Failure of the
       appellant to comply with the time schedule order will result in automatic
       dismissal of the appeal. 9th Cir. R. 42-1.
         Case 3:17-cv-04002-LB
         Case:                   Document
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                                     ID: 10906023,   06/15/181-4,Page
                                                   DktEntry:      Page2 2ofof3 3




                   UNITED STATES COURT OF APPEALS
                                                                       FILED
                           FOR THE NINTH CIRCUIT
                                                                       JUN 12 2018
                                                                      MOLLY C. DWYER, CLERK
                                                                       U.S. COURT OF APPEALS




 OPEN SOURCE SECURITY, INC., a                  No. 18-16082
 Pennsylvania corporation; BRADLEY
 SPENGLER,
                                                D.C. No. 3:17-cv-04002-LB
               Plaintiffs - Appellants,         U.S. District Court for Northern
                                                California, San Francisco
   v.
                                                TIME SCHEDULE ORDER
 BRUCE PERENS,

               Defendant - Appellee.



The parties shall meet the following time schedule.

If there were reported hearings, the parties shall designate and, if necessary, cross-
designate the transcripts pursuant to 9th Cir. R. 10-3.1. If there were no reported
hearings, the transcript deadlines do not apply.

Tue., June 19, 2018            Mediation Questionnaire due. If your registration for
                               Appellate ECF is confirmed after this date, the
                               Mediation Questionnaire is due within one day of
                               receiving the email from PACER confirming your
                               registration.
Wed., July 11, 2018            Transcript shall be ordered.
Fri., August 10, 2018          Transcript shall be filed by court reporter.
Wed., September 19, 2018 Appellants' opening brief and excerpts of record
                         shall be served and filed pursuant to FRAP 31 and
                         9th Cir. R. 31-2.1.
        Case 3:17-cv-04002-LB
        Case:                   Document
              18-16082, 06/12/2018,        99 Filed
                                    ID: 10906023,   06/15/181-4,Page
                                                  DktEntry:      Page3 3ofof3 3

Fri., October 19, 2018        Appellee's answering brief and excerpts of record
                              shall be served and filed pursuant to FRAP 31 and
                              9th Cir. R. 31-2.1.

The optional appellants' reply brief shall be filed and served within 21 days of
service of the appellee's brief, pursuant to FRAP 31 and 9th Cir. R. 31-2.1.

Failure of the appellants to comply with the Time Schedule Order will result
in automatic dismissal of the appeal. See 9th Cir. R. 42-1.

                                               FOR THE COURT:

                                               MOLLY C. DWYER
                                               CLERK OF COURT

                                               By: Ruben Talavera
                                               Deputy Clerk
                                               Ninth Circuit Rule 27-7
